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  Attorneys for Nanci Solo and Erik Colan


                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF NEW YORK



   MARVEL CHARACTERS, INC.,                   Case No.: 1:21-cv-05316-DG

                         Plaintiff,           Hon. Diane Gujarati
           v.
                                              DEFENDANTS’ FIRST
   NANCI SOLO and ERIK COLAN,                 AMENDED ANSWER &
                                              COUNTERCLAIM
                         Defendants.

                                              DEMAND FOR JURY TRIAL

   NANCI SOLO and ERIK COLAN,

                         Counterclaimants,
           v.

   MARVEL CHARACTERS, INC. and DOES
   1-10, inclusive,

                  Counterclaim-Defendants.
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                                    NATURE OF THE ACTION

         1.      Defendants Nanci Solo and Erik Colan (“Defendants”), the heirs of Eugene J.

  Colan (“Gene Colan”), admit only that they have exercised Gene Colan’s termination rights

  under the United States Copyright Act (the “1976 Act”) by serving notices of termination on

  plaintiff Marvel Characters, Inc. (“MCI” or “Plaintiff”) regarding comic book characters and

  stories created or co-created by Gene Colan, and that MCI has brought this civil action for

  declaratory relief as set forth in its Complaint, but Defendants otherwise deny the allegations in

  paragraph 1.

         2.      Defendants admit only that the district court in Marvel Worldwide, Inc. v. Kirby,

  granted Marvel Worldwide, Inc. summary judgment against the statutory heirs of Jack Kirby, 777

  F. Supp. 2d 720 (S.D.N.Y. 2011), aff’d in part, 726 F.3d 119 (2d Cir. 2013), and to the extent

  relevant, if any, respectfully refer the Court to these decisions for their contents, but Defendants

  otherwise deny the allegations in paragraph 2.

         3.      Defendants respectfully refer the Court to In re Marvel Entertainment Grp., 254

  B.R. 817 (D. Del. 2000) for its contents, to the extent relevant, if any, but Defendants otherwise

  deny the allegations in paragraph 3.

         4.      Defendants admit only that that MCI has brought this civil action for declaratory

  relief pursuant to 28 U.S.C. § 2201, as set forth in its Complaint, but Defendants otherwise deny

  the allegations in paragraph 4.

                                               PARTIES

         5.      Defendants lack knowledge or information sufficient to form a belief as to the

  truth of the allegations contained in paragraph 5, and on that basis deny the same.

         6.      Denied.



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         7.      Admitted.

                                  JURISDICTION AND VENUE

         8.      Defendants admit only that Plaintiff purports to bring an action for declaratory

  relief under 28 U.S.C. §§ 2201, et seq., and under the 1976 Act, 17 U.S.C. §§ 101, et seq.

  Paragraph 8 otherwise contains conclusions of law as to which no responsive pleading is

  required.

         9.      Defendants admit only that Nanci Solo and Erik Colan hold the statutory

  termination rights of Gene Colan under the 1976 Act. Paragraph 9 otherwise contains

  conclusions of law as to which no responsive pleading is required.

         10.     Defendants admit that they are domiciled in this District. Paragraph 10 otherwise

  contains conclusions of law as to which no responsive pleading is required.

                                          ALLEGATIONS

         11.     Denied.

         12.     Denied.

         13.     Denied.

         14.     Denied.

         15.     Defendants lack knowledge or information sufficient to form a belief as to the

  truth of the allegations contained in paragraph 15 and on that basis deny the same. Defendants

  respectfully refer the Court to all documents referred to in paragraph 15 for evidence of the

  contents thereof.

         16.     Defendants admit that between approximately June 22 and July 2, 2021,

  Defendants, the heirs of Gene Colan, served three notices of termination on Marvel pursuant to

  17 U.S.C. § 304 (c) and the regulations promulgated thereunder. Defendants otherwise



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  respectfully refer the Court to the documents referred to in paragraph 16 for evidence of the

  contents thereof.

         17.     Defendants admit the allegations in paragraph 17 only to the extent such

  allegations accurately reflect the contents of documents, and respectfully refer the Court to such

  documents for evidence of the contents thereof.

         18.     Defendants admit the allegations in paragraph 18 only to the extent such

  allegations accurately reflect the contents of documents, and respectfully refer the Court to such

  documents for evidence of the contents thereof.

         19.     Admitted.

                      COUNT I: ACTION FOR DECLARATORY RELIEF

                                  [As to the Validity of All Notices]

         20.     Defendants re-allege and incorporate by reference paragraphs 1-19 inclusive of

  their Answer, as though fully set forth herein.

         21.     Admitted.

         22.     Denied.

         23.     Denied.

         24.     Denied.

         25.     Denied.

         26.     Defendants lack knowledge or information sufficient to form a belief as to the

  truth of the allegations contained in paragraph 26 and on that basis deny the same.

         27.     Admitted.

         28.     Defendants lack knowledge or information sufficient to form a belief as to the

  truth of the factual allegations contained in paragraph 28, and on that basis deny the same.



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         29.     Defendants lack knowledge or information sufficient to form a belief as to the

  truth of the factual allegations contained in paragraph 29, and on that basis deny the same.

  Paragraph 29 otherwise contains conclusions of law as to which no responsive pleading is

  required.

         30.     Defendants deny the allegations contained in paragraph 30, except admit that MCI

  purports to seek a declaratory judgment pursuant to 28 U.S.C.§ 2201.

                                       PRAYER FOR RELIEF

         A.         With respect to the relief requested in paragraph A. of the Prayer for Relief,

  Defendants specifically and generally deny that MCI is entitled to any of the relief requested in

  said paragraph.

         B.         With respect to the relief requested in paragraph B. of the Prayer for Relief,

  Defendants specifically and generally deny that MCI is entitled to any of the relief requested in

  said paragraph.

         C.         With respect to the relief requested in paragraph C. of the Prayer for Relief,

  Defendants specifically and generally deny that MCI is entitled to any of the relief requested in

  said paragraph.

                                     AFFIRMATIVE DEFENSES

         Defendants hereby additionally allege the following as affirmative defenses:

                                 FIRST AFFIRMATIVE DEFENSE

                                       (Failure to State a Claim)

         1.      The Complaint fails to state a claim upon which the relief sought or any relief

  could be granted.




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                                 SECOND AFFIRMATIVE DEFENSE

                                                 (Laches)

         2.        Plaintiff’s claims are barred, in whole or in part, by the doctrine of laches.

                                  THIRD AFFIRMATIVE DEFENSE

                                             (Unclean Hands)

         3.        Plaintiff’s claims are barred, in whole or in part, by the equitable doctrine of

  unclean hands.

                                FOURTH AFFIRMATIVE DEFENSE

                                          (Unjust Enrichment)

         4.        The Complaint and each purported claim therein is barred, in whole or in part, by

  the equitable doctrine of unjust enrichment.

                                  FIFTH AFFIRMATIVE DEFENSE

                                            (Claim Preclusion)

         5.        The Complaint and each purported claim therein is barred, in whole or in part, by

  the doctrine of res judicata or claim preclusion.

                                  SIXTH AFFIRMATIVE DEFENSE

                                            (Issue Preclusion)

         6.        The Complaint and each purported claim therein is barred, in whole or in part, by

  the doctrine of collateral estoppel or issue preclusion.

                                SEVENTH AFFIRMATIVE DEFENSE

                                                 (Duress)

         7.        Plaintiff’s claims are barred, in whole or in part, by the fact that any alleged

  contract between the parties or their respective predecessors-in-interest is unenforceable and/or



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  void because of duress.

                               EIGHTH AFFIRMATIVE DEFENSE

                                           (Statute of Frauds)

         8.      Plaintiff’s claims are barred, in whole or in part, by the fact that any alleged

  contract between the parties or their respective predecessors-in-interest is unenforceable and/or

  void because of the Statute of Frauds.

                                  NINTH AFFIRMATIVE DEFENSE

                                      (Failure of Consideration)

         9.      Plaintiff’s claims are barred, in whole or in part, by the fact that any alleged

  contract between the parties or their respective predecessors-in-interest is unenforceable and/or

  void because the contract(s) lacked consideration.

                                  TENTH AFFIRMATIVE DEFENSE

                                       (Statute of Limitations)

         10.     The Complaint and each purported claim therein is barred, in whole or in part, by

  Plaintiff’s failure to bring such claims within the governing statute of limitations.

                             ELEVENTH AFFIRMATIVE DEFENSE

                                                (Waiver)

         11.     The Complaint and each purported claim therein is barred, in whole or in part, by

  the doctrine of waiver.

                              TWELFTH AFFIRMATIVE DEFENSE

                                             (Acquiescence)

         12.     The Complaint and each purported claim therein is barred, in whole or in part, by

  the doctrine of acquiescence.



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                             THIRTEENTH AFFIRMATIVE DEFENSE

                                            (Judicial Estoppel)

          13.      The Complaint and each purported claim therein is barred, in whole or in part, by

  the equitable doctrine of judicial estoppel.

                             FOURTEENTH AFFIRMATIVE DEFENSE

                                           (Equitable Estoppel)

          14.      The Complaint and each purported claim therein is barred, in whole or in part, by

  the doctrine of equitable estoppel.

                              FIFTEENTH AFFIRMATIVE DEFENSE

                (Defendants’ Termination Notices Not Invalidated by Technical Errors)

          15.      Under 17 U.S.C. § 304(c) and 37 C.F.R. § 201.10, Defendants’ Termination

  Notices are not invalidated or curtailed due to technical errors or omissions, if any, since

  Defendants’ intent to terminate all prior grants by Eugene J. Colan of his copyright interests in all

  works listed in the Notices is made clear to Plaintiff in the Termination Notices timely served on

  Plaintiff.

                              SIXTEENTH AFFIRMATIVE DEFENSE

                                         (Against Public Policy)

          16.      Any contract alleged in the Complaint which is contrary to public policy is

  unenforceable, and any relief requested in the Complaint which is contrary to public policy

  should not be granted.

                                 ________________________________

          17.      The Complaint fails to state the claims for relief with sufficient particularity to

  permit Defendants to discern and raise all appropriate defenses. Defendants may have additional



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  affirmative defenses available to them, which are not now fully known or of which Defendants

  are not fully aware. Defendants accordingly reserve the right to amend or supplement this answer

  with additional affirmative defenses after the same have been ascertained.

         FOR THESE REASONS, Defendants pray that the Court dismiss all of Plaintiff’s

  claim(s) and find for Defendants on Plaintiff’s Count One, and that Defendants be awarded costs,

  including reasonable attorneys’ fees under Section 505 of the United States Copyright Act, and

  pray for such other and further relief as this Court deems just and proper.

                                         COUNTERCLAIM

         Counterclaimants Nanci Solo and Erik Colan (the “Colan Heirs” or “Counterclaimants”),

  the heirs of Eugene J. Colan, for their Counterclaim against Marvel Characters, Inc. (“MCI” or

  “Counterclaim-Defendant”) allege as follows:

                                    NATURE OF THE ACTION

         1.      Eugene J. Colan (“Gene Colan”) was a renowned comic book author and artist

  best known for creating or co-creating characters including but not limited to, “Captain Marvel,”

  “Falcon,” the “Guardians of the Galaxy,” and “Blade,” in various original comic book stories

  (the “Stories”), published in the 1960s and 1970s by MCI’s alleged predecessors. The United

  States Copyright Act of 1976, 17 U.S.C. §304 (c) (“Section 304(c)”), provides an author such as

  Gene Colan and their family (e.g., surviving spouse, children) with the right to recover their fair

  share of the U.S. copyright to the author’s creative work, after a lengthy period, by statutorily

  terminating without cause prior transfer(s) of copyright within delineated time “windows.”

         2.      On June 22, 2021, July 2, 2021, and September 29, 2021, respectively, the Colan

  Heirs properly availed themselves of their termination rights under Section 304(c) by serving

  MCI and their affiliates, within the prescribed window, with four notices of termination



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  (“Termination Notices”), regarding Gene Colan’s author or co-author share of the Stories based

  on his creative material (the “Colan Material”). The Termination Notices become effective in

  October 2023 to June 2031. This Counterclaim principally seeks a declaratory judgment that the

  Colan Heir’s Termination Notices are valid and effective under the Copyright Act.

         3.      The Supreme Court clearly elucidated the objective of the Copyright Act’s

  termination provisions:

         The principal purpose of the [termination right] was to provide added benefits to
         authors ... to make the rewards for the creativity of authors more substantial. More
         particularly, the termination right was expressly intended to relieve authors of the
         consequences of ill-advised and unremunerative grants that had been made before
         the author had a fair opportunity to appreciate the true value of his work product.
         That general purpose is plainly defined in the legislative history and, indeed, is
         fairly inferable from the text of § 304 itself.

  Mills Music, Inc. v. Snyder, 469 U.S. 153, 172-73 (1985).

         4.      Congress recognized that publishers held far greater bargaining power and that,

  consequently, authors commonly agreed to one-sided grants, precluding them from sharing in

  their works’ success. Id. The results were often supremely unfair, as when a work proved to have

  enduring commercial value but enriched only the publisher. Congress thus created termination

  rights to “safeguard[] authors against unremunerative transfers” made before their works were

  commercially exploited, and to give them a second chance to obtain a more equitable portion of

  their works’ value when it is no longer conjectural. H.R. Rep. No. 94-1476, at 124; see also N.Y.

  Times v. Tasini, 533 U.S. 483, 496 n.1 (2001) (recognizing Congress’ intent to adjust “the

  author/publisher balance” by an “inalienable authorial right to revoke a copyright transfer”).

                                  JURISDICTION AND VENUE

         5.      This is an action for declaratory relief brought under 28 U.S.C. §§ 2201, et seq.,

  and under the Copyright Act of 1976, 17 U.S.C. §§ 101, et seq. This Court has federal question


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  subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1338(a).

          6.      This Court has personal jurisdiction over Counterclaim-Defendant MCI because

  MCI is regularly doing business in the State of New York and in this district and maintains

  contacts within the State of New York and this district.

          7.      Venue is proper in the United States District Court for the Eastern District of New

  York pursuant to 28 U.S.C. §§ 1391(b) and (c) and 1400(a), because MCI is conducting business

  in this district and is subject to personal jurisdiction in this district.

                                                  PARTIES

          8.      Counterclaimant Nanci Solo is an individual and a citizen of and resides in the

  State of New York, in the County of Kings, and is and at all times has been a citizen of the

  United States. Counterclaimant is the surviving daughter of Gene Colan.

          9.      Counterclaimant Erik Colan is an individual and a citizen of and resides in the

  State of New York, in the County of Kings, and is and at all times has been a citizen of the

  United States. Counterclaimant is the surviving son of Gene Colan.

          10.     The Colan Heirs are informed and believe and based thereon allege that

  Counterclaim-Defendant MCI is a Delaware corporation, which has its principal place of

  business in Burbank, California, and which regularly conducts significant business in the State of

  New York.

          11.     The Colan Heirs are informed and believe and based thereon allege that the

  fictitiously named Counterclaim-Defendants captioned hereinabove as Does 1 through 10,

  inclusive, and each of them, were in some manner responsible or legally liable for the actions,

  damages, events, transactions, and circumstances alleged herein. The true names and capacities

  of such fictitiously named Counterclaim-Defendants, whether individual, corporate, associate, or



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  otherwise are presently unknown to Counterclaimant, and Counterclaimant will amend this

  Counterclaim to assert the true names and capacities of such fictitiously named Counterclaim-

  Defendants when the same have been ascertained. For convenience, each reference herein to

  MCI shall also refer to the Doe Counterclaim-Defendants and each of them.

         12.     The Colan Heirs are informed and believe and based thereon allege that each of

  the Counterclaim-Defendant and the Doe Counterclaim-Defendants was the agent, partner,

  servant, employee, or employer of each other, and that at all times herein mentioned, each of the

  Counterclaim-Defendant and the Doe Counterclaim-Defendants were acting within the course

  and scope of such employment, partnership and/or agency and that each is jointly and severally

  responsible for the damages hereinafter alleged.

                                   STATUTORY BACKGROUND

         13.     The United States Copyright Act of 1976, 17 U.S.C. § 101 et seq. (the “Copyright

  Act”), provides an author with the inalienable right to recapture the copyright to the author’s

  creative material, after a lengthy waiting period, by statutorily terminating without cause any

  prior express or implied transfer of such copyright. Termination is easily carried out by serving

  advance notice of termination on the original grantee or its successors and filing the notice with

  the U.S. Copyright Office, within delineated time “windows.” 17 U.S.C. § 304(c).

         14.     Section 304(c) provides for the termination of a pre-1978 transfer of rights under

  copyright by the author during a five (5) year period commencing fifty-six (56) years after the

  date the author’s work first secured a statutory copyright (by registration or publication,

  whichever is earlier). Id. § 304(c)(3). The requisite notice of termination sets forth the “effective

  date” of termination, within the five-year termination “window,” when the previously transferred

  rights under U.S. copyright will be recaptured by the author. Notice of termination may be



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  served by the author, or if the author is deceased, by the author’s statutorily defined heirs or

  estate, at any time between ten (10) and two (2) years before the effective termination date. Id. §

  304(c)(4)(A).

         15.      True “works made for hire” are the sole exemption from the Copyrights Act’s

  termination provisions. Id. § 304(c). Whether a work, created and published prior to January 1,

  1978, is a “work made for hire,” is determined under and is defined in Section 26 of the 1909

  Copyright Act. Pub.L. 60-349.

         16.      The termination right is the most important authorial right provided by the

  Copyright Act, short of copyright itself. Congress was therefore very protective of this right and,

  to that end, enacted a number of provisions to prevent any waiver or encumbrance of an author’s

  termination interest. For instance, “[t]ermination of the [prior copyright] grant may be effected

  notwithstanding any agreement to the contrary [.]” Id. § 304(c)(5).

         17.      Furthermore, “[h]armless errors in a [termination] notice that do not materially

  affect the adequacy of the information required to serve the purposes of . . . section [304(c)] of

  title 17, U.S.C. . . . shall not render the notice invalid.” 37 CFR § 201.10(e)(1).

         18.      Congress also anticipated that the exercise of an author’s termination right would

  usually result in a new license by the author or author’s estate to the terminated grantee (here,

  MCI). To that end, Congress provided that “grantee” with the exclusive opportunity to re-license

  an author’s recaptured copyright “after the notice of termination has been served,” but before

  “the effective date of the termination.” 17 U.S.C. § 304(c)(6)(D). The termination provisions

  thus reflect a deliberate balance of competing interests by Congress.

         19.      Under the termination provisions, all “derivative works” created prior to a

  termination notice’s effective termination date “may continue to be” distributed and exploited by



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  the grantee or grantee’s successor, just as before. 17 U.S.C. § 304(c)(6)A). The Colan Heir’s

  recovery of Gene Colan’s author or co-author share of the U.S. copyright to the Stories therefore

  does not prevent MCI and/or its licensees from continuing to freely exploit prior derivative

  works, including films, television series and merchandising.

         20.     In addition, as to the Stories that were co-authored by Gene Colan, MCI and/or its

  licensees can continue to freely exploit such works, including in new derivative works, even

  after the effective termination date(s), subject only to a duty to account to the Colan Heirs for an

  equitable share of proceeds therefrom, and this only in the unlikely event MCI does not enter

  into a preemptive new license with the Colan Heirs regarding such works.

         21.     Lastly, because the Copyright Act has no extra-territorial application, all rights to

  the Stories in all foreign territories, remain with MCI, notwithstanding the Termination Notices,

  providing additional incentives for the parties to cooperatively work together in the future.

         22.     As a result, the Termination Notices, if held effective, will likely result in a new

  license from the Colan Heirs to MCI, but one which more fairly reflects the time-tested market

  value of Gene Colan’s creative material. Accordingly, the exercise of statutory termination rights

  does not prevent the further exploitation of these works by MCI; it simply allows the Colan Heirs

  to fairly participate in the financial benefits of Gene Colan’s creative efforts, just as Congress

  intended. H.R. Rep. No. 94-1476, at 124 (1976).

                      FACTS COMMON TO ALL CLAIMS FOR RELIEF

         23.     Gene Colan is considered one of the great comic book creators, and throughout

  his career he authored or co-authored numerous original illustrated comic book stories that were

  published by a variety of different publishers.




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                        Gene Colan’s Creation of the Stories in 1967-1975

         24.     Between 1967 and 1975 (the applicable “Period”), Gene Colan created or co-

  created a number of superhero characters, including but not limited to, “Falcon,” “Captain

  Marvel,” the “Guardians of the Galaxy,” and “Blade,” in the original illustrated comic book

  Stories, authored or co-authored by him, which are the subjects of the Colan Heirs’ Termination

  Notices.

         25.     Because “work for hire” is the only exception to the Copyright Act’s remedial

  termination provisions, MCI attempts to rewrite history in asserting that the Colan Material was

  “work made for hire,” owned at inception by MCI’s alleged predecessors. This bears no relation,

  however, to the facts or realities of comic book publishing in the relevant Period.

         26.     By 1959, comic book publishing was on the brink of bankruptcy, due in large part

  to criticism in Fredric Wertham’s book, “Seduction of the Innocent,” the ensuing 1954 hearings

  before the Senate Subcommittee on Juvenile Delinquency, and the resulting censorship imposed

  by the “Comics Code Authority.” Subsequently, the market for comic books underwent a severe

  contraction which endured well into the 1960’s.

         27.     As such, the purported comic book publishing entities which MCI alleges are its

  predecessor(s) from this Period (individually and collectively, “MCIPP”) were largely shell

  companies, of no resemblance to the structured, established company Marvel is today.

         28.     In 1962-63, for instance, the MCIPP did not even have their own office and

  consisted of one alleged employee with a small desk behind a partition in a room occupied by

  others. By the mid-1960s, the MCIPP had at best a tiny one or two-room office, and very few or

  no employees (depending on the MCIPP). The impecunious MCIPP fed the printing presses of

  other entities with inexpensive comic book material purchased for publication from a variety of



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  “freelancers,” like Gene Colan, working from home on their own steam.

          29.    The Colan Heirs are informed and believe and based thereon allege that after the

  Colan Material was purchased by one such entity, it was published in varying periodicals (e.g.,

  Tomb of Dracula, Vol. 1, Nos. 1-37; Captain America, Vol. 1, Nos. 117-137; Marvel Super-

  Heroes, Vol. 1., Nos. 12-13; and Marvel’s Space-Born Superhero! Captain Marvel, Vol. 1, Nos.

  1-4).

          30.    The Colan Heirs are further informed and believe and based thereon allege that

  the copyrights in these periodicals, containing the Stories, were registered with the United States

  Copyright Office by and in the name of still different entities (e.g., Magazine Management Co.,

  Inc., Marvel Comics Group, and Marvel Comics, Inc.). As such, there was little continuity or

  substance to the use or participation of these revolving entities or MCIPP to support MCI’s

  conclusion that the Colan Material qualified as “work made for hire” under and as defined in the

  1909 Copyright Act.

          31.    Notably, even the MCIPP’s contemporaneous copyright registrations by these

  assorted companies did not list or describe their copyrighted periodicals or the Stories therein, as

  “works made for hire,” as was common legal practice for copyright registrations of actual

  “works for hire.”

          32.    As a freelancer, Gene Colan created the Colan Material, used in the Stories he

  authored or co-authored, largely on his own, and at his own expense. The MCIPP conspicuously

  never entered into any employment or any other engagement agreement with Gene Colan.

          33.    Gene Colan was not employed by any MCIPP, either as a traditional employee or

  even as an independent contractor.

          34.    Gene Colan was thus not guaranteed a salary, wage or compensation for his time



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  or services by any MCIPP, which purposefully avoided such legally binding financial

  obligations. And because the MCIPP had no employment agreement with Gene Colan, the

  MCIPP also had no legal right to control his creation of the Colan Material, at his home, on his

  own time, and at his own expense.

         35.     The MCIPP, by design, was also under no legal obligation to accept for

  publication and pay for the material created by Gene Colan, or by any other freelancer.

  Accordingly, like many comic book writers and artists during this time of economic uncertainty,

  Gene Colan worked hand to mouth, at his own premises, using his own instruments and

  materials, and he thereby bore the entire financial risk of creating the Colan Material in question.

         36.     Upon completion, Gene Colan submitted his material to the MCIPP. If the MCIPP

  chose, in its sole discretion, to accept it for publication, it purchased the Colan Material by the

  page. The MCIPP did not pay for submitted pages that it rejected, in its sole discretion, nor did it

  own such rejected material, underscoring that the nature of this was a purchase, as a matter of

  law, subsequent to creation, and that the Colan Material was not “work made for hire,” owned at

  inception by an MCIPP.

         37.     The Colan Heirs are informed and believe and based thereon allege that

  accordingly, the back of MCIPP checks issued to buy the Colan Material contained a printed

  legend, which stated that by endorsement of the check, the payee acknowledges his assignment

  of the copyright in his material—the legal opposite of a “work for hire.”

         38.     Once the MCIPP purchased the Colan Material, it, of course, was free to do with

  it what it pleased, including any alteration or additions thereto, and the copyright registration of

  the periodicals, containing the Stories authored or co-authored by Gene Colan.

         39.     The MCIPP did not assign Gene Colan stories to illustrate.



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         40.       Notwithstanding that Gene Colan created and plotted his own stories, the MCIPP

  did not bother to pay him anything for this. Instead, Stan Lee often took the writing credit such

  that the MCIPP paid him the “writer’s share” of money paid to purchase such freelance material.

         41.       Given the above facts and circumstances, the Colan Material was not “work made

  for hire” for any MCIPP under the 1909 Copyright Act.

           The Colan Heirs Exercise His Termination Rights Under the Copyright Act

         42.       On June 22, 2021, July 2, 2021, and September 29, 2021, respectively, the Colan

  Heirs served by first class mail, postage prepaid, the Termination Notices, pursuant to the

  Copyright Act, 17 U.S.C. § 304(c), on MCI and its affiliates, duly terminating all express or

  implied grants or transfers by Gene Colan to the MCIPP of his copyright interest in the Stories.

  Copies of these Termination Notices are attached hereto as Exhibit “A.”

         43.       The copyrights to the periodicals containing the Stories were renewed, and such

  renewals served to renew the copyrights to the constituent Stories.

         44.       The Termination Notices were drafted and served on MCI and related entities, and

  submitted to the United States Copyright Office for recordation, all in full compliance with the

  Copyright Act, 17 U.S.C. § 304(c), and the regulations promulgated thereunder by the Register

  of Copyrights, 37 C.F.R. § 201.10.

         45.       The Termination Notices will terminate, on the respective effective termination

  dates set forth therein, all operative prior grants or transfers by Gene Colan to an MCIPP of his

  copyright interest as an author or co-author of the Stories.

         46.       On the effective termination dates, the Colan Heirs will duly recover ownership of

  Gene Colan’s copyright interest as an author or co-author of the Stories for their extended

  renewal terms.



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                                             COUNT ONE

    (Declaratory Relief: Termination Notices Are Valid and Effective Under 17 U.S.C. § 304(c))

         47.       The Colan Heirs re-allege and incorporate by reference paragraphs 1 through 46

  of this Counterclaim inclusive, as though fully set forth herein.

         48.       By reason of the foregoing facts, an actual and justiciable controversy has arisen

  and now exists between the parties under federal copyright law, concerning the validity and

  effect of the Termination Notices.

         49.       The Colan Heirs contend and MCI denies that the Termination Notices are valid

  and effective under the Copyright Act, 17 U.S.C. § 304(c).

         50.       Gene Colan was never employed by MCI’s alleged predecessor(s) as either an

  employee or as an independent contractor.

         51.       MCI’s alleged predecessor(s) therefore had no legal right to control Gene Colan’s

  creation of the Colan Material, and once completed, it had no legal obligation to pay Gene Colan

  for his material unless it was accepted, in its sole discretion, for publication.

         52.       The Colan Material was therefore not created by Gene Colan at the “instance and

  expense” of MCI’s alleged predecessor(s), and instead was purchased subsequent to Gene

  Colan’s creation of the material on a freelance basis at his own expense.

         53.     The Colan Material, comprising his contribution to the Stories, was therefore by

  no means “work made for hire” under and as defined in Section 26 of the 1909 Copyright Act.

  Pub.L. 60-349.

         54.     A declaration of the Court is necessary and appropriate at this time so that the

  parties may know their respective rights and obligations regarding the Termination Notices and

  Stories.



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         55.       Accordingly, the Colan Heirs seek pursuant to 28 U.S.C. § 2201 a declaratory

  judgment from this Court that their Termination Notices are valid and effective under the

  Copyright Act.

                                        PRAYER FOR RELIEF

         WHEREFORE, the Colan Heirs pray for a judgment against MCI as follows:

         1.        For a declaration that their Termination Notices are valid under the Copyright Act,

  and as to the parties’ rights and obligations regarding the Stories;

         2.        For reasonable attorney’s fees and costs of suit; and

         3.        For such other and further relief as the Court deems just and equitable.

                                                 Respectfully submitted,

  Date: December 15, 2021                        By:             /s/ Marc Toberoff
                                                                   Marc Toberoff

                                                 TOBEROFF & ASSOCIATES, P.C.
                                                 mtoberoff@toberoffandassociates.com
                                                 23823 Pacific Coast Hwy, Suite 50-363
                                                 Malibu, CA 90265
                                                 Telephone: (310) 246-3333
                                                 Facsimile: (310) 246-3101

                                                 Attorneys for Nanci Solo and Erik Colan,
                                                 Heirs of Eugene J. Colan




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                                       JURY TRIAL DEMANDED

          Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Defendants and

  Counterclaimants Nanci Solo and Erik Colan hereby demand a trial by jury on each claim for

  relief and/or issue that is triable by a jury.

                                                   Respectfully submitted,

  Date: December 15, 2021                          By:           /s/ Marc Toberoff
                                                                   Marc Toberoff

                                                   TOBEROFF & ASSOCIATES, P.C.
                                                   mtoberoff@toberoffandassociates.com
                                                   23823 Pacific Coast Hwy, Suite 50-363
                                                   Malibu, CA 90265
                                                   Telephone: (310) 246-3333
                                                   Facsimile: (310) 246-3101

                                                   Attorneys for Nanci Solo and Erik Colan,
                                                   Heirs of Eugene J. Colan




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                                   NOTICE OF TERMINATION

                                              "BLADE"


   To:     Marvel Entertainment, LLC                        Marvel Studios, LLC
           Marvel Worldwide, Inc.                           MVL Rights, LLC
           Marvel Property, Inc.                            MVL Development, LLC
           Marvel Characters, Inc.                          Marvel Characters, Inc.
           1290 Avenue of the Americas                      500 South Buena Vista Street
           New York, NY 10104                               Burbank, CA 91521
           Attn: John Turitzin, Chief Counsel               Attn: David Galluzzi, Chief Counsel
                 Eli Bard, Deputy Chief Counsel

           The Walt Disney Company                          Marvel Animation Inc.
           500 South Buena Vista Street                     623 Circle Seven Drive
           Burbank, CA 91521                                Glendale, CA 91201
           Attn: Alan Braverman, General Counsel            Attn: Legal Department



           PLEASE TAKE NOTICE that pursuant to Section 304(c) of the United States Copyright

  Act (17 U.S.C. § 304(c)) and the regulations issued thereunder by the Register of Copyrights, 37

  C.F.R. § 201.10, Nanci Solo and Erik Colan, the children of the deceased author Eugene J. Colan,

  being the persons entitled to terminate copyright transfers by the author pursuant to said statutory

  provisions, hereby terminate all pre-January 1, 1978 exclusive or non-exclusive grants of the

  transfer or license of the renewal copyright(s) in and to the illustrated comic book stories, many of

  which feature the character Blade (a.k.a. Eric Brooks), authored or co-authored by Eugene J. Colan

  (a.k.a. Gene Colan) and published in the TOMB OF DRACULA comic book issues, all as set forth

  below:

           1.     The names and addresses of the grantees and/or successors in title whose rights are

  being terminated are as follows: Marvel Entertainment, LLC, Marvel Worldwide, Inc., Marvel

  Property, Inc., Marvel Characters, Inc., 1290 Avenue of the Americas, New York, NY 10104;

  Marvel Studios, LLC, MVL Rights, LLC, MVL Development, LLC, Marvel Characters, Inc., 500
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  South Buena Vista Street, Burbank, CA 91521; The Walt Disney Company, 500 South Buena

  Vista Street, Burbank, CA 91521; and Marvel Animation Inc., 623 Circle Seven Drive, Glendale,

  CA 91201. Pursuant to 37 C.F .R. § 201.10(d), service of this notice is being made by First Class

  Mail, postage pre-paid to the above grantees or successors at the addresses shown.

          2.      The copyrighted work(s) to which this Notice of Termination apply(ies)

  (individually, the "Work"; collectively, the "Works") are the illustrated comic book story(ies),

  many of which feature the character Blade (a.k.a. Eric Brooks), authored or co-authored by Eugene

  J. Colan (a.k.a. Gene Colan), 1 along with all the characters, story elements, and/or indicia

  appearing therein, which stories were published and embodied in the comic book issues identified

  as follows:



          1
            This Notice of Termination also applies to all material authored or co-authored by Eugene J. Colan
  (in any and all medium(s), whenever created) that was reasonably associated with the Works and was
  registered with the United States Copyright Office and/or published within the termination time window,
  as defined by 17 U.S.C. § 304(c), and the effective date of this Notice of Termination. This Notice of
  Termination likewise includes any character, story element, or indicia reasonably associated with the Works
  including, without limitation, Blade (a.k.a. Eric Brooks), Jeanie Ovington, Abraham van Helsing, Fritz
  Burgeister, Danny Summers, Carl von Harbou, Ilsa Strangeway, Inspector Chelm, Godfrey Langston,
  Lenore DeCade, the Moorlands Monster, Lord Dering, Lady Dering, Buckley Grainger, Dr. Heinrich
  Mortte, Adrian Mortte, Corker Haller, Gladys Fulton, Jason Faust, Oliver Gordon, Molodowi, Henry
  Laswell, Duncan Corley, Helen Cantler, James Jackson, Shivvey Martin, Gordo Brown, Horatio Toombs,
  Marie Kamph, Theresa Beare, Henry Bonney, Paul Beare, Peter Vornik, Ulsa Vornik, Petra Vornik, Leonid
  Korsak, Katerina Stenski, Marcus Fydora, Shiela Whittier, Alestar Dunwick, Lilith Drake, Henrietta
  Dunwick, Rodney Dunwick, Caroline Bascombe, Hannibal King, Adrianne Brown Walers, Fred Walters,
  David Eshcol Chastity Jones, Joshua Eschol, C'Thunda, King Kull, Mae Li, Adri Nita!, Beverly Gable,
  Lyza Strang, Archibald Strang, Melanie Knight, Marcia Knight, Paul Knight, Kuai Hua, Ogun, Azi,
  Musenda, Orji, Mary-Beth Singleton, Lord Arthur Singleton, Brother Voodoo, Daniel Drumm, Daphne von
  Wilkinson, Jackson Hardy, Tilly Beatering, Martin Beatering, Ken Mitchell, Jack Bolt, Winston Twindle,
  Angie Rogers, William Perry, Joe Petri, Jack Ownes, Capt. Sid Greenely, Harold H. Harold, Aurora
  Rabinowitz, Juno, Janet Galin, Stu Summers, Elizabeth Harker, Jonathan Harker, Edith Harker, Quincy
  Harker, Clifton Graves, Dracula (a.k.a. Vlad Dracula), Garbiel Trulaine, Charlie O'Casey, Martin Scampt,
  Lord Turac, Frank Drake, Rachel van Helsing, Taj Nita!, Elizabeth Langley, Saint, Safron Caulder, Cecile
  Parker, Deacon Frost, Tara Brooks, Jasper O'Connor, Josiah Dawn, Lucas Brand, Professor Margo, Dr.
  Sun, Kitty, Orphelus, Turac, Maria Dracula, Jacques Granet, Ludwig Gruber, Jack Russell, Henri Verne,
  Greta Verne, Werewolf by Night, Topaz, "Scratcher" Martin, Gregory Russoff, Laura Russoff Russell,
  Werewolf, Shiela Whittier, Trudy Taylor, and Jyota Nita!. Every reasonable effort has been made to find
  and list herein all such material. Nevertheless, if any such material has been omitted, such omission is
  unintentional and involuntary, and this Notice also applies to each and every such omitted material.

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                                                                                  Secured
 Tomb of Dracula Vol. 1, No. 1         Magazine Management Co., Inc.              10/19/1971      8712603
                                       and Marvel Comics Group
 Tomb of Dracula Vol. 1, No. 2         Magazine Management Co., Inc.              2/1/1972        8739653
                                       and Marvel Comics Group
 Tomb of Dracula Vol. 1, No. 3         Magazine Management Co., Inc.              3/28/1972       8744432
                                       and Marvel Comics Group
 Tomb of Dracula Vol. 1, No. 4         Magazine Management Co., Inc.              5/30/1973       8847506
                                       and Marvel Comics Group
 Tomb of Dracula Vol. 1, No. 5         Magazine Management Co., Inc.              7/25/1972       8772985
                                       and Marvel Comics Group
 Tomb of Dracula Vol. 1, No. 6         Magazine Management Co., Inc.              9/26/1972       8787599
                                       and Marvel Comics Group
 Tomb of Dracula Vol. 1, No. 7         Magazine Management Co., Inc.              11/21/1972      8800163
                                       and Marvel Comics Group
 Tomb of Dracula Vol. 1, No. 8         Marvel Comics Group, a division            1/23/1973       8815059
                                       of Cadence Industries Corp.
 Tomb of Dracula Vol. 1, No. 9         Marvel Comics Group, a division            2/20/1973       8825207
                                       of Cadence Industries Corp.
 Tomb of Dracula Vol. 1, No. 10        Marvel Comics Group, a division            3/20/1973       8829682
                                       of Cadence Industries Corp.
 Tomb of Dracula Vol. 1, No. 11        Marvel Comics Group, a division            4/24/1973       8846942
                                       of Cadence Industries Corp.
 Tomb of Dracula Vol. 1, No. 12        Marvel Comics Group, a division            5/22/1973       8846899
                                       of Cadence Industries Corp.
 Tomb of Dracula Vol. 1, No. 13        Marvel Comics Group, a division            6/19/1973       8851838
                                       of Cadence Industries Corp.
 Tomb of Dracula Vol. 1, No. 14        Marvel Comics Group, a division            7/17/1973       8857134
                                       of Cadence Industries Corp.
  Tomb of Dracula Vol. 1, No. 15       Marvel Comics Group, a division            8/14/1973       8866425
                                       of Cadence Industries Corp.
  Tomb of Dracula Vol. 1, No. 16       Marvel Comics Group, a division            9/4/1973        8879205
                                       of Cadence Industries Corp.
  Tomb of Dracula Vol. 1, No. 17       Marvel Comics Group, a division            9/25/1973       8883969
                                       of Cadence Industries Corp.
  Tomb of Dracula Vol. 1, No. 18       Marvel Comics Group, a division            10/23/1973      8891716

          2 Pursuant to 37 C.F.R. § 201.l0(b)(l)(iii), this Notice of Termination includes the name of at least

  one author of each Work to which this Notice of Termination applies. The listing herein of any corporation
  as copyright claimant is done per Copyright Office records, and is not to be construed as an admission that
  any given work is or was a "work made for hire," nor is anything else herein to be construed as any such
  admission. Nothing contained in this Notice of Termination shall be construed to in any way limit or waive
  any right or remedy that Nanci Solo and/or Erik Colan, may have, at law or in equity, with respect to the
  subject matter hereof, all of which is hereby expressly reserved.

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                                   of Cadence Industries Corporation
  Tomb of Dracula Vol. 1, No. 19   Marvel Comics Group, a division        11/20/1973    B899455
                                   of Cadence Industries Corporation
  Tomb of Dracula Vol. 1, No. 20   Marvel Comics Group, a division        1/8/1974      B906646
                                   of Cadence Industries Corporation
  Tomb of Dracula Vol. 1, No. 21   Marvel Comics Group, a division        2/5/1974      B918332
                                   of Cadence Industries Corporation
  Tomb of Dracula Vol. 1, No. 22   Marvel Comics Group, a division        3/5/1974      B926664
                                   of Cadence Industries Corporation
  Tomb of Dracula Vol. 1, No. 23   Marvel Comics Group, a division        5/7/1974      B939804
                                   of Cadence Industries Corporation
  Tomb of Dracula Vol. 1, No. 24   Marvel Comics Group, a division        6/4/1974      B939782
                                   of Cadence Industries Corporation
  Tomb of Dracula Vol. 1, No. 25   Marvel Comics Group, a division        6/4/1974      B956177
                                   of Cadence Industries Corporation
  Tomb of Dracula Vol. 1, No. 26   Marvel Comics Group, a division        7/2/1974      B964044
                                   of Cadence Industries Corporation
  Tomb of Dracula Vol. 1, No. 27   Marvel Comics Group, a division        9/3/1974      B964074
                                   of Cadence Industries Corporation
  Tomb of Dracula Vol. 1, No. 28   Marvel Comics Group, a division        9/3/1974      B982110
                                   of Cadence Industries Corporation
  Tomb of Dracula Vol. 1, No. 29   Marvel Comics Group, a division        10/8/1974     B978710
                                   of Cadence Industries Corporation
  Tomb of Dracula Vol. 1, No. 30   Marvel Comics Group, a division        11/5/1974     B989057
                                   of Cadence Industries Corporation
  Tomb of Dracula Vol. 1, No. 31   Marvel Comics Group, a division        12/3/1974     B995431
                                   of Cadence Industries Corporation
  Tomb of Dracula Vol. 1, No. 32   Marvel Comics Group, a division        1/7/1975      B999523
                                   of Cadence Industries Corporation
  Tomb of Dracula Vol. 1, No. 33   Marvel Comics Group, a division        2/4/1975      B8139
                                   of Cadence Industries Corporation
  Tomb of Dracula Vol. 1, No. 34   Marvel Comics Group, a division        4/8/1975      B16961
                                   of Cadence Industries Corporation
  Tomb of Dracula Vol. 1, No. 35   Marvel Comics Group, a division        4/1/1975      B24311
                                   of Cadence Industries Corporation
  Tomb of Dracula Vol. 1, No. 36   Marvel Comics Group, a division        4/29/1975     B47240
                                   of Cadence Industries Corooration
  Tomb of Dracula Vol. 1, No. 37   Marvel Comics Group, a division        6/10/1975     B48651
                                   of Cadence Industries Corporation


         3.     The grant(s) and/or transfer(s) to which this Notice of Termination applies was

  (were) made in that (those) certain copyright assignment(s) on the back of the check(s) issued by

  Marvel Entertainment, LLC's ("Marvel") predecessor company(ies) to Eugene J. Colan, regarding

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  the above-listed Works, which was (were) dated on or about the time of the publication of such

  Works, as well as any other grant(s) regarding the Works by Eugene J. Colan to Marvel's

  predecessor(s). 3

            4.    The effective date of termination for each respective Work shall be as follows:

   Title:                                                   Effective Date of Termination:

   Tomb of Dracula Vol. 1, No. 1                            October 20, 2027
   Tomb of Dracula Vol. 1, No. 2                            February 2, 2028
   Tomb of Dracula Vol. 1, No. 3                            March 29, 2028
   Tomb of Dracula Vol. 1, No. 4                            May 31, 2029
   Tomb of Dracula Vol. 1, No. 5                            July 26, 2028
   Tomb of Dracula Vol. 1, No. 6                            September 27, 2028
   Tomb of Dracula Vol. 1, No. 7                            November 22, 2028
   Tomb of Dracula Vol. 1, No. 8                            January 24, 2029
   Tomb of Dracula Vol. 1, No. 9                            February 21, 2029
   Tomb of Dracula Vol. 1, No. 10                           March 21, 2029
   Tomb of Dracula Vol. 1, No. 11                           April 25, 2029
   Tomb of Dracula Vol. 1, No. 12                           May 23, 2029
   Tomb of Dracula Vol. 1, No. 13                           June 20, 2029
   Tomb of Dracula Vol. 1, No. 14                           July 18, 2029
   Tomb of Dracula Vol. 1, No. 15                           August 15, 2029
   Tomb of Dracula Vol. 1, No. 16                           September 5, 2029
   Tomb of Dracula Vol. 1, No. 17                           September 26, 2029
   Tomb of Dracula Vol. 1, No. 18                           October 24, 2029
   Tomb of Dracula Vol. 1, No. 19                           November 21, 2029
   Tomb of Dracula Vol. 1, No. 20                           January 9, 2030
   Tomb of Dracula Vol. 1, No. 21                           February 6, 2030
   Tomb of Dracula Vol. 1, No. 22                           March 6, 2030
   Tomb of Dracula Vol. 1, No. 23                           May 8, 2030
   Tomb of Dracula Vol. 1, No. 24                           June 5, 2030
   Tomb of Dracula Vol. 1, No. 25                           June 5, 2030
   Tomb of Dracula Vol. 1, No. 26                           July 3, 2030
   Tomb of Dracula Vol. 1, No. 27                           September 4, 2030
   Tomb of Dracula Vol. 1, No. 28                           September 4, 2030
   Tomb of Dracula Vol. 1, No. 29                           October 9, 2030


            This Notice of Termination also applies to each and every grant or alleged grant by Eugene J.
            3

  Colan of rights under copyright in and to the Works that falls within the applicable termination time window
  (defined by 17 U.S.C. § 304(c) and the effective date of this Notice of Termination). Every reasonable effort
  has been made to find and list herein every such grant and/or transfer. Nevertheless, if any such grant and/or
  transfer has been omitted, such omission is unintentional and involuntary, and this Notice of Termination
  applies as well to each and every such omitted grant and/or transfer.
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   Tomb of Dracula Vol. 1, No. 30                      November 6, 2030
   Tomb of Dracula Vol. 1, No. 31                      December 4, 2030
   Tomb of Dracula Vol. 1, No. 32                      January 8, 2031
   Tomb of Dracula Vol. 1, No. 33                      February 5, 2031
   Tomb of Dracula Vol. 1, No. 34                      April 9, 2031
   Tomb of Dracula Vol. 1, No. 35                      April 2, 2031
   Tomb of Dracula Vol. 1, No. 36                      April 30, 2031
   Tomb of Dracula Vol. 1, No. 37                      June 11, 2031


         5.      Eugene J. Colan died on June 23, 2011. His surviving children, Nanci Solo and Erik

  Colan, are the persons entitled to exercise the termination right pursuant to 17 U.S.C. §

  304(c)(2)(B), as to the grant(s) identified herein. This Notice has been signed by all persons needed

  to terminate said grant(s) under 17 U.S.C. § 304(c).


   Dated: June 22, 2021                                TOBEROFF & ASSOCIATES, P.C.



                                                       Marc Toberoff

                                                       23823 Malibu Road, Suite 50-363
                                                       Malibu, CA 90265
                                                       Tel: (310) 246-3333

                                                       As counsel for and on behalf of Nanci Solo
                                                       and Erik Colan




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                                   CERTIFICATE OF SERVICE

         I hereby certify that I caused a true copy of the foregoing document described as

  NOTICE OF TERMINATION to be served this 22 nd day of June, 2021, by First Class Mail,

  postage prepaid, upon each of the following:

   To:   Marvel Entertainment, LLC                             Marvel Studios, LLC
         Marvel Worldwide, Inc.                                MVL Rights, LLC
         Marvel Property, Inc.                                 MVL Development, LLC
         Marvel Characters, Inc.                               Marvel Characters, Inc.
         1290 Avenue of the Americas                           500 South Buena Vista Street
         New York, NY 10104                                    Burbank, CA 91521
         Attn: John Turitzin, Chief Counsel                    Attn: David Galluzzi, Chief Counsel
               Eli Bard, Deputy Chief Counsel

         The Walt Disney Company                               Marvel Animation Inc.
         500 South Buena Vista Street                          623 Circle Seven Drive
         Burbank, CA 91521                                     Glendale, CA 91201
         Attn: Alan Braverman, General Counsel                 Attn: Legal Department



         I declare under penalty of perjury that the foregoing is true and correct. Executed this

  22 nd day of June, 2021, at Malibu, California.




                                                        Breck Kadaba
                                                        Toberoff & Associates, P.C.
                                                        23823 Malibu Road, Suite 50-363
                                                        Malibu, CA 90265

                                                        Counsel for Nanci Solo and Erik Colan




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                                   NOTICE OF TERMINATION

                                             "FALCON"

   To:   Marvel Entertainment, LLC                          Marvel Studios, LLC
         Marvel Worldwide, Inc.                             MVL Rights, LLC
         Marvel Property, Inc.                              MVL Development, LLC
         Marvel Characters, Inc.                            Marvel Characters, Inc.
         1290 Avenue of the Americas                        500 South Buena Vista Street
         New York, NY 10104                                 Burbank, CA 91521
         Attn: John Turitzin, Chief Counsel                 Attn: David Galluzzi, Chief Counsel
               Eli Bard, Deputy Chief Counsel

         The Walt Disney Company                            Marvel Animation Inc.
         500 South Buena Vista Street                       623 Circle Seven Drive
         Burbank, CA 91521                                  Glendale, CA 91201
         Attn: Alan Braverman, General Counsel              Attn: Legal Department

         PLEASE TAKE NOTICE that pursuant to Section 304(c) of the United States Copyright

  Act (17 U.S.C. § 304(c)) and the regulations issued thereunder by the Register of Copyrights, 37

  C.F.R. § 201.10, Nanci Solo and Erik Colan, the children of the deceased author Eugene J. Colan,

  being the persons entitled to terminate copyright transfers by the author pursuant to said statutory

  provisions, hereby terminate all pre-January 1, 1978 exclusive or non-exclusive grants of the

  transfer or license of the renewal copyright(s) in and to the illustrated comic book stories, many of

  which feature the character Falcon (a.k.a. Samuel Wilson), authored or co-authored by Eugene J.

  Colan (a.k.a. Gene Colan) and published in the CAPTAIN AMERICA comic book issues, all as

  set forth below:

         1.      The names and addresses of the grantees and/or successors in title whose rights are

  being terminated are as follows: Marvel Entertainment, LLC, Marvel Worldwide, Inc., Marvel

  Property, Inc., Marvel Characters, Inc., 1290 Avenue of the Americas, New York, NY 10104;

  Marvel Studios, LLC, MVL Rights, LLC, MVL Development, LLC, Marvel Characters, Inc., 500

  South Buena Vista Street, Burbank, CA 91521; The Walt Disney Company, 500 South Buena

  Vista Street, Burbank, CA 91521; and Marvel Animation Inc., 623 Circle Seven Drive, Glendale,
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  CA 91201. Pursuant to 37 C.F.R. § 201.IO(d), service of this notice is being made by First Class

  Mail, postage pre-paid to the above grantees or successors at the addresses shown.

          2.      The copyrighted work(s) to which this Notice of Termination apply(ies)

  (individually, the "Work"; collectively, the "Works") are the illustrated comic book story(ies),

  many of which feature the character Falcon (a.k.a. Samuel Wilson), authored or co-authored by

  Eugene J. Colan (a.k.a. Gene Colan), 1 along with all the characters, story elements, and/or indicia

  appearing therein, which stories were published and embodied in the comic book issues identified

  as follows:

 Title                                    Cogyright Claimant2                      Date            Cogyright
                                                                                   Cogyright       Reg. No.
                                                                                   Secured
 Captain America Vol. 1, No. 117          Magazine Management Co., Inc.            5/13/1969       B532114
                                          and Marvel Comics Group


          1
            This Notice of Termination also applies to all material authored or co-authored by Eugene J. Colan
  (in any and all medium(s), whenever created) that was reasonably associated with the Works and was
  registered with the United States Copyright Office and/or published within the termination time window,
  as defined by 17 U.S.C. § 304(c), and the effective date of this Notice of Termination. This Notice of
  Termination likewise includes any character, story element, or indicia reasonably associated with the Works
  including, without limitation, Falcon (a.k.a. Samuel Wilson), Redwing, Captain America (a.k.a. Steve
  Rogers), Red Skull, Eric Gruning, Angelo Baldini, Ivan Krushki, Franz Cadavus, Iron-Hand Hauptmann,
  General Ching, MODOK, Rick Jones, Sharon Carter, Nick Fury, Dum-Dum Dugan, Mart Baker, Agent R-
  I ("Grizzly"), Agent R-2 ("Mike"), Professor Paul Fosgrave, Man-Brute, Silas X. Cragg, Abraham Erskine,
  Heinz Kruger General Phillips, Jarvis, Yellowjacket, Wasp, Black Panther, Vision, Robert Dietzel,
  Scorpion, Jasper Sitwell, Suprema, Scarbo, J. Jonah Jameson, Tony Stark, "Aces" Wild, Agent A-12, Agent
  A-14, Mandarin, Dr. Robert Hoskins, Diamond Head, Maggia, Android X-4, Dr. Ralph Ryder, Joe
  Robertson, Bucky Barnes, Heinrich Zemo, King Hassab oflrabia, The Hood, Batroc the Leaper, Whirlwind,
  Porcupine, Hulk, Spider-Man (a.k.a. Peter Parker), Doctor Doom, Scientist Supreme, Stone-Face, Sarah
  Wilson-Casper, Jody Casper, the Monster Ape, Prince, Mole Man, the Moloids, and Harry Osborn. Every
  reasonable effort has been made to find and list herein all such material. Nevertheless, if any such material
  has been omitted, such omission is unintentional and involuntary, and this Notice also applies to each and
  every such omitted material.
          2
            Pursuant to 37 C.F.R. § 201. I0(b)(l)(iii), this Notice of Termination includes the name of at least
  one author of each Work to which this Notice of Termination applies. The listing herein of any corporation
  as copyright claimant is done per Copyright Office records, and is not to be construed as an admission that
  any given work is or was a "work made for hire," nor is anything else herein to be construed as any such
  admission. Nothing contained in this Notice of Termination shall be construed to in any way limit or waive
  any right or remedy that Nanci Solo and/or Erik Colan, may have, at law or in equity, with respect to the
  subject matter hereof, all of which is hereby expressly reserved.

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  Captain America Vol. 1, No. 118    Magazine Management Co., Inc.       6/10/1969     B532062
                                     and Marvel Comics Group
  Captain America Vol. 1, No. 119    Magazine Management Co., Inc.       7/8/1969      B532117
                                     and Marvel Comics Group
  Captain America Vol. 1, No. 120    Magazine Management Co., Inc.       8/12/1969     B533818
                                     and Marvel Comics Group
  Captain America Vol. 1, No. 121    Magazine Management Co., Inc.       9/9/1969      B545951
                                     and Marvel Comics Group
  Captain America Vol. 1, No. 122    Magazine Management Co., Inc.        10/14/1969   B545968
                                     and Marvel Comics Group
  Captain America Vol. 1, No. 123    Magazine Management Co., Inc.        11/11/1969   B549540
                                     and Marvel Comics Group
  Captain America Vol. 1, No. 124    Magazine Management Co., Inc.        12/9/1969    B557545
                                     and Marvel Comics Group
  Captain America Vol. 1, No. 125    Magazine Management Co., Inc.        1/13/1970    B567218
                                     and Marvel Comics Group
  Captain America Vol. 1, No. 126    Magazine Management Co., Inc.       2/10/1970     B576035
                                     and Marvel Comics Group
  Captain America Vol. 1, No. 127    Magazine Management Co., Inc.       3/10/1970     B578594
                                     and Marvel Comics Group
  Captain America Vol. 1, No. 128    Magazine Management Co., Inc.       4/7/1970      B586684
                                     and Marvel Comics Group
  Captain America Vol. 1, No. 129    Magazine Management Co., Inc.       5/5/1970      B598586
                                     and Marvel Comics Group
  Captain America Vol. 1, No. 130    Magazine Management Co., Inc.       6/9/1970      B598589
                                     and Marvel Comics Group
  Captain America Vol. 1, No. 131    Magazine Management Co., Inc.       7/7/1970      B609524
                                     and Marvel Comics Group
  Captain America Vol. 1, No. 132    Magazine Management Co., Inc.        8/4/1970     B612392
                                     and Marvel Comics Group
  Captain America Vol. 1, No. 133    Magazine Management Co., Inc.       9/8/1970      B630153;
                                     and Marvel Comics Group                           B630214
  Captain America Vol. 1, No. 134    Magazine Management Co., Inc.        10/6/1970    B630191
                                     and Marvel Comics Group
  Captain America Vol. 1, No. 135    Magazine Management Co., Inc.        11/3/1970    B631976
                                     and Marvel Comics Group
  Captain America Vol. 1, No. 136    Magazine Management Co., Inc.        12/15/1970   B638024
                                     and Marvel Comics Group
  Captain America Vol. 1, No. 13 7   Magazine Management Co., Inc.        1/12/1971    B648901
                                     and Marvel Comics Group


         3.      The grant(s) and/or transfer(s) to which this Notice of Termination applies was

  (were) made in that (those) certain copyright assignment(s) on the back of the check(s) issued by


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  Marvel Entertainment, LLC's ("Marvel") predecessor company(ies) to Eugene J. Colan, regarding

  the above-listed Works, which was (were) dated on or about the time of the publication of such

  Works, as well as any other grant(s) regarding the Works by Eugene J. Colan to Marvel's

  predecessor(s ). 3

            4.    The effective date of termination for each respective Work shall be as follows:

   Title:                                                   Effective Date of Termination:

   Captain America Vol. 1, No. 117                          May 14, 2025
   Captain America Vol. 1, No. 118                          June 11, 2025
   Captain America Vol. 1, No. 119                          July 9, 2025
   Caf)(ainAmerica Vol. 1, No. 120                          August 13, 2025
   CavtainAmerica Vol. 1, No. 121                           September 10, 2025
   Cavtain America Vol. 1, No. 122                          October 15, 2025
   Caf)(ain America Vol. 1, No. 123                         November 12, 2025
   Captain America Vol. 1, No. 124                          December 10, 2025
   Captain America Vol. 1, No. 125                          January 14, 2026
   Captain America Vol. 1, No. 126                          February 11, 2026
   Captain America Vol. 1, No. 127                          March 11, 2026
   Captain America Vol. 1, No. 128                          April 8, 2026
   Captain America Vol. 1, No. 129                          May 6, 2026
   Captain America Vol. 1, No. 130                          June 10, 2026
   CavtainAmerica Vol. 1, No. 131                           July 8, 2026
   Caf)(ain America Vol. 1, No. 132                         August 5, 2026
   Cavtain America Vol. 1, No. 133                          September 9, 2026
   CavtainAmerica Vol. 1, No. 134                           October 7, 2026
   Caf)(ain America Vol. 1, No. 135                         November 4, 2026
   Captain America Vol. 1, No. 136                          December 16, 2026
   Captain America Vol. 1, No. 137                          January 13, 2027


            5.     Eugene J. Colan died on June 23, 2011. His surviving children, Nanci Solo and Erik

  Colan, are the persons entitled to exercise the termination right pursuant to 17 U.S.C. §



            This Notice of Termination also applies to each and every grant or alleged grant by Eugene J.
            3

  Colan of rights under copyright in and to the Works that falls within the applicable termination time window
  (defined by 17 U.S.C. § 304(c) and the effective date of this Notice of Termination). Every reasonable effort
  has been made to find and list herein every such grant and/or transfer. Nevertheless, if any such grant and/or
  transfer has been omitted, such omission is unintentional and involuntary, and this Notice of Termination
  applies as well to each and every such omitted grant and/or transfer.
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                                    #: 1510


  304(c)(2)(B), as to the grant(s) identified herein. This Notice has been signed by all persons needed

  to terminate said grant(s) under 17 U.S.C. § 304(c).




                                                               ----------
   Dated: June 22, 2021                                TOBEROFF & ASSOCIATES, P.C.


                                                         /7-7 / ~
                                                       Marc Toberoff

                                                       23823 Malibu Road, Suite 50-363
                                                       Malibu, CA 90265
                                                       Tel: (310) 246-3333

                                                       As counsel for and on behalf of Nanci Solo
                                                       and Erik Colan




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                                   CERTIFICATE OF SERVICE

         I hereby certify that I caused a true copy of the foregoing document described as

  NOTICE OF TERMINATION to be served this 22 nd day of June, 2021, by First Class Mail,

  postage prepaid, upon each of the following:

   To:   Marvel Entertainment, LLC                             Marvel Studios, LLC
         Marvel Worldwide, Inc.                                MVL Rights, LLC
         Marvel Property, Inc.                                 MVL Development, LLC
         Marvel Characters, Inc.                               Marvel Characters, Inc.
         1290 Avenue of the Americas                           500 South Buena Vista Street
         New York, NY 10104                                    Burbank, CA 91521
         Attn: John Turitzin, Chief Counsel                    Attn: David Galluzzi, Chief Counsel
               Eli Bard, Deputy Chief Counsel

         The Walt Disney Company                               Marvel Animation Inc.
         500 South Buena Vista Street                          623 Circle Seven Drive
         Burbank, CA 91521                                     Glendale, CA 91201
         Attn: Alan Braverman, General Counsel                 Attn: Legal Department



         I declare under penalty of perjury that the foregoing is true and correct. Executed this

  22 nd day of June, 2021, at Malibu, California.




                                                        Toberoff & Associates, P.C.
                                                        23823 Malibu Road, Suite 50-363
                                                        Malibu, CA 90265

                                                        Counsel for Nanci Solo and Erik Colan




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                                    NOTICE OF TERMINATION

                                        "CAPTAIN MARVEL"


   To:   Marvel Entertainment, LLC                           Marvel Studios, LLC
         Marvel Worldwide, Inc.                              MVL Rights, LLC
         Marvel Property, Inc.                               MVL Development, LLC
         Marvel Characters, Inc.                             Marvel Characters, Inc.
         1290 Avenue of the Americas                         500 South Buena Vista Street
         New York, NY 10104                                  Burbank, CA 91521
         Attn: John Turitzin, Chief Counsel                  Attn: David Galluzzi, Chief Counsel
               Eli Bard, Deputy Chief Counsel

         The Walt Disney Company                             Marvel Animation Inc.
         500 South Buena Vista Street                        623 Circle Seven Drive
         Burbank, CA 91521                                   Glendale, CA 91201
         Attn: Alan Braverman, General Counsel               Attn: Legal Department



          PLEASE TAKE NOTICE that pursuant to Section 304(c) of the United States Copyright

  Act (17 U.S.C. § 304(c)) and the regulations issued thereunder by the Register of Copyrights, 37

  C.F.R. § 201.10, Nanci Solo and Erik Colan, the children of the deceased author Eugene J. Colan,

  being the persons entitled to terminate copyright transfers by the author pursuant to said statutory

  provisions, hereby terminate all pre-January 1, 1978 exclusive or non-exclusive grants of the

  transfer or license of the renewal copyright(s) in and to the illustrated comic book stories, featuring

  the character Captain Marvel (a.k.a. Mar-Yell), authored or co-authored by Eugene J. Colan (a.k.a.

  Gene Colan), and published in the respective comic book issues listed in paragraph 2 of this Notice,

  all as set forth below:

          1.      The names and addresses of the grantees and/or successors in title whose rights are

  being terminated are as follows: Marvel Entertainment, LLC, Marvel Worldwide, Inc., Marvel

  Property, Inc., Marvel Characters, Inc., 1290 Avenue of the Americas, New York, NY 10104;

  Marvel Studios, LLC, MVL Rights, LLC, MVL Development, LLC, Marvel Characters, Inc., 500
Case 1:21-cv-05316-DG-TAM
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  South Buena Vista Street, Burbank, CA 91521; The Walt Disney Company, 500 South Buena

  Vista Street, Burbank, CA 91521; and Marvel Animation Inc., 623 Circle Seven Drive, Glendale,

  CA 91201. Pursuant to 37 C.F.R. § 201.lO(d), service of this notice is being made by First Class

  Mail, postage pre-paid to the above grantees or successors at the addresses shown.

          2.      The copyrighted work(s) to which this Notice of Termination apply(ies)

  (individually, the "Work"; collectively, the "Works") are the illustrated comic book story(ies),

  featuring the character Captain Marvel (a.k.a. Mar-Yell), authored or co-authored by Eugene J.

  Colan (a.k.a. Gene Colan), 1 along with all the characters, story elements, and/or indicia appearing

  therein, which stories were published and embodied in the comic book issues identified as follows:

 Title                                     CoQyright Claimant2                    Date             CoQyright
                                                                                  CoQyright        Reg. No.
                                                                                  Secured

 Marvel Super-Heroes Vol 1, No. 12         Marvel Comics, Inc. and                10/10/1967       B462618
                                           Marvel Comics Group
 Marvel Super-Heroes Vol 1, No. 13         Marvel Comics, Inc. and                12/12/1967       B462617
                                           Marvel Comics Group


          1 This Notice of Termination also applies to all material authored or co-authored by Eugene J. Colan

  (in any and all medium(s), whenever created) that was reasonably associated with the Works and was
  registered with the United States Copyright Office and/or published within the termination time window,
  as defined by 17 U.S.C. § 304(c), and the effective date of this Notice of Termination. This Notice of
  Termination likewise includes any character, story element, or indicia reasonably associated with the Works
  including, without limitation, Captain Marvel (a.k.a. Mar-Veil), Carol Danvers (a.k.a. Car-Ell), Una, Yon-
  Rogg, Zarek, the Kree Soldiers, Jeremy Logan, Supreme Intelligence, Sentry 459, Ronan the Accuser,
  Walter Lawson, Sam Hill, General William Bridges, Walter Lawson, Dorrek VII, Anelle, Machino, Hal
  Logan, Chester Fenton, Super-Skrull (a.k.a. Kl'rt), the Skrull Emperor, and Namor the Sub-Mariner. Every
  reasonable effort has been made to find and list herein all such material. Nevertheless, if any such material
  has been omitted, such omission is unintentional and involuntary, and this Notice also applies to each and
  every such omitted material.

          2 Pursuant to 37 C.F.R. § 201.1 0(b)(l)(iii), this Notice of Termination includes the name of at least

  one author of each Work to which this Notice of Termination applies. The listing herein of any corporation
  as copyright claimant is done per Copyright Office records, and is not to be construed as an admission that
  any given work is or was a "work made for hire," nor is anything else herein to be construed as any such
  admission. Nothing contained in this Notice of Termination shall be construed to in any way limit or waive
  any right or remedy that Nanci Solo and/or Erik Colan, may have, at law or in equity, with respect to the
  subject matter hereof, all of which is hereby expressly reserved.

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Marvel 's Space-Born Superhero!            Marvel Comics, Inc. and                2/8/1968         B462622
Caf)(ain Marvel Vol. 1, No. 1              Marvel Comics Group
Marvel 's Space-Born Superhero!            Marvel Comics, Inc. and                3/7/1968         B462631
Caf)(ain Marvel Vol. 1, No. 2              Marvel Comics Group
Marvel 's Space-Born Superhero!            Marvel Comics, Inc. and                4/9/1968         B462609
Captain Marvel Vol. 1, No. 3               Marvel Comics Group
Marvel 's Space-Born Superhero!            Marvel Comics, Inc. and                5/9/1968         B462620
Captain Marvel Vol. 1, No. 4               Marvel Comics Group


            3.    The grant(s) and/or transfer(s) to which this Notice of Termination applies was

  (were) made in that (those) certain copyright assignment(s) on the back of the check(s) issued by

  Marvel Entertainment, LLC's ("Marvel") predecessor company(ies) to Eugene J. Colan, with

  respect to the above-listed Works, which was (were) dated on or about the time of the respective

  publication of such Works, as well as any other grant(s) regarding the Works by Eugene J. Colan

  to Marvel's predecessor(s). 3

            4.    The effective date of termination for each respective Work shall be as follows:

   Title:                                                   Effective Date of Termination:

   Marvel Super-Heroes Vol 1, No. 12                        October 11, 2023
   Marvel Super-Heroes Vol 1, No. 13                        December 13, 2023
   Marvel 's Space-Born Superhero!                          February 9, 2024
   Cavtain Marvel Vol. 1, No. 1
   Marvel 's Space-Born Superhero!                          March 8, 2024
   Captain Marvel Vol. 1, No. 2
   Marvel 's Space-Born Superhero!                          April 10, 2024
   Captain Marvel Vol. 1, No. 3
   Marvel 's Space-Born Superhero!                          May 10, 2024
   Cavtain Marvel Vol. 1, No. 4




            3This Notice of Termination also applies to each and every grant or alleged grant by Eugene J.
  Co Ian of rights under copyright in and to the Works that falls within the applicable termination time window
  (defined by 17 U.S.C. § 304(c) and the effective date of this Notice of Termination). Every reasonable effort
  has been made to find and list herein every such grant and/or transfer. Nevertheless, if any such grant and/or
  transfer has been omitted, such omission is unintentional and involuntary, and this Notice of Termination
  applies as well to each and every such omitted grant and/or transfer.
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         5.      Eugene J. Colan died on June 23, 2011 . His surviving children, Nanci Solo and Erik

  Colan, are the persons entitled to exercise the termination right pursuant to 17 U.S.C. §

  304(c)(2)(B), as to the grant(s) identified herein. This Notice has been signed by all persons needed

  to terminate said grant(s) under 17 U.S.C. § 304(c).


   Dated: July 2, 2021                                 TOBEROFF & ASSOCIATES, P.C.



                                                       Marc Toberoff

                                                       23823 Malibu Road, Suite 50-363
                                                       Malibu, CA 90265
                                                       Tel: (310) 246-3333

                                                       As counsel for and on behalf of Nanci Solo
                                                       and Erik Colan




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                                  CERTIFICATE OF SERVICE

         I hereby certify that I caused a true copy of the foregoing document described as

  NOTICE OF TERMINATION to be served this 2nd day of July, 2021, by First Class Mail,

  postage prepaid, upon each of the following:

   To: Marvel Entertainment, LLC                              Marvel Studios, LLC
       Marvel Worldwide, Inc.                                 MVL Rights, LLC
       Marvel Property, Inc.                                  MVL Development, LLC
       Marvel Characters, Inc.                                Marvel Characters, Inc.
       1290 A venue of the Americas                           500 South Buena Vista Street
       New York, NY 10104                                     Burbank, CA 91521
       Attn: John Turitzin, Chief Counsel                     Attn: David Galluzzi, Chief Counsel
             Eli Bard, Deputy Chief Counsel

         The Walt Disney Company                              Marvel Animation Inc.
         500 South Buena Vista Street                         623 Circle Seven Drive
         Burbank, CA 91521                                    Glendale, CA 91201
         Attn: Alan Braverman, General Counsel                Attn: Legal Department



         I declare under penalty of perjury that the foregoing is true and correct. Executed this 2nd

  day of July, 2021, at Malibu, California.




                                                       Breck Kadaba
                                                       Toberoff & Associates, P.C.
                                                       23823 Malibu Road, Suite 50-363
                                                       Malibu, CA 90265

                                                       Counsel for Nanci Solo and Erik Colan




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                                  NOTICE OF TERMINATION

                               "GUARDIANS OF THE GALAXY"


   To:   Marvel Entertainment, LLC                         Marvel Studios, LLC
         Marvel Worldwide, Inc.                            MVL Rights, LLC
         Marvel Property, Inc.                             MVL Development LLC
         Marvel Characters, Inc.                           Marvel Characters, Inc.
         1290 Avenue of the Americas                       500 South Buena Vista Street
         New York, NY 10104                                Burbank, CA 91521
         Attn: John Turitzin, Chief Counsel                Attn: David Galluzzi, Chief Counsel
               Eli Bard, Deputy Chief Counsel

         The Walt Disney Company
         500 South Buena Vista Street
         Burbank, CA 91521
         Attn: Alan Braverman, General Counsel



         PLEASE TAKE NOTICE that pursuant to Section 304(c) of the United States Copyright

  Act (17 U.S.C. § 304(c)) and the regulations issued thereunder by the Register of Copyrights, 37

  C.F.R. § 201.10, Nanci Solo and Erik Colan, the children of the deceased author Eugene J. Colan,

  being the persons entitled to terminate copyright transfers by the author pursuant to said statutory

  provisions, hereby terminate all pre-January l, 1978 exclusive or non-exclusive grants of the

  transfer or license of the renewal copyright(s) in and to the illustrated comic book story entitled

  "Earth Shall Overcome!" (which story contains the first appearances of the characters Charlie-27,

  Major Vance Astro, Martinex T'Naga, and Yondu Udonta - collectively, the "Guardians of the

  Galaxy"), co-authored by Eugene J. Colan (a.k.a. Gene Colan), and published in Marvel Super-

  Heroes, Vol. 1, No. 18, and set forth in connection therewith the following:

         1.      The names and addresses of the grantees and/or successors in title whose rights are

  being terminated are as follows: Marvel Entertainment, LLC, Marvel Worldwide, Inc., Marvel

  Property, Inc., Marvel Characters, Inc., 1290 Avenue of the Americas, New York, NY 10104;
Case 1:21-cv-05316-DG-TAM
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  Marvel Studios, LLC, MVL Rights, LLC, MVL Development, LLC, Marvel Characters, Inc., 500

  South Buena Vista Street, Burbank, CA 91521; and The Walt Disney Company, 500 South Buena

  Vista Street, Burbank, CA 91521. Pursuant to 37 C.F .R. § 201.10( d), service of this notice is being

  made by First Class Mail, postage pre-paid to the above grantees or successors at the addresses

  shown.

           2.      The copyrighted work (the "Work") to which this Notice of Termination applies is

  the illustrated comic book story entitled "Earth Shall Overcome!," (which story contains the first

  appearances of the characters Charlie-27, Major Vance Astro, Martinex T'Naga, and Yondu

  Udonta - collectively, the "Guardians of the Galaxy"), co-authored by Eugene J. Colan (a.k.a Gene

  Colan), 1 and published and embodied in Marvel Super-Heroes, Vol. 1, No. 18 (which includes this

  issue's cover page), which issue was registered with the U.S. Copyright Office by Perfect Film &

  Chemical Corp. and Marvel Comics Group on October 15, 1968 under Copyright Registration No.

  B474875, and includes all the characters, story elements, and/or indicia appearing therein. 2

           3.      The grant(s) and/or transfer(s) to which this Notice of Termination applies was



           1
            This Notice of Termination also applies to all material authored or co-authored by Eugene J. Colan
  (in any and all medium(s), whenever created) that was reasonably associated with the Work and was
  registered with the United States Copyright Office and/or published within the termination time window,
  as defined by 17 U.S.C. § 304(c), and the effective date of this Notice of Termination. This Notice of
  Termination likewise includes any character, story element, or indicia reasonably associated with the Work
  including, without limitation, the Guardians of the Galaxy, Charlie-27, Major Vance Astra, Martinex
  T'Naga, Yondu Udonta, Charlie-26, Maz, Yur, Orang, the Saturnian Hound-Hawks, and Betina Marsh.
  Every reasonable effort has been made to find and list herein all such material. Nevertheless, if any such
  material has been omitted, such omission is unintentional and involuntary, and this Notice also applies to
  each and every such omitted material.
           2
            Pursuantto 37 C.F.R. § 20 I. I 0(b)(I )(iii), this Notice of Termination includes the name of at least
  one author of the Work to which this Notice of Termination applies. The listing herein of any corporation
  as copyright claimant is done per Copyright Office records, and is not to be construed as an admission that
  any given work is or was a "work made for hire," nor is anything else herein to be construed as any such
  admission. Nothing contained in this Notice of Termination shall be construed to in any way limit or waive
  any right or remedy that Nanci Solo and/or Erik Colan, may have, at law or in equity, with respect to the
  subject matter hereof, all of which is hereby expressly reserved.

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  (were) made in that (those) certain copyright assignment(s) on the back of the check(s) issued by

  Marvel Entertainment, LLC's ("Marvel") predecessor company(ies) to Eugene J. Colan, with

  respect to the above-listed Work, which was (were) dated on or about the time of the publication

  of such Work, as well as any other grant(s) regarding the Work by Eugene J. Colan to Marvel's

  predecessor( s ). 3

          4.       The effective date of termination of the Work shall be October 16, 2024.

           5.      Eugene J. Colan died on June 23, 2011. His surviving children, Nanci Solo and Erik

  Colan, are the persons entitled to exercise the termination right pursuant to 17 U.S.C. §

  304(c)(2)(B), as to the grant(s) identified herein. This Notice has been signed by all persons needed

  to terminate said grant(s) under 17 U.S.C. § 304(c).


   Dated: September 29, 2021                                TOBEROFF & ASSOCIATES, P.C.



                                                            Marc Toberoff

                                                            23823 Malibu Road, Suite 50-363
                                                            Malibu, CA 90265
                                                            Tel: (310) 246-3333

                                                            As counsel for and on behalf of Nanci Solo
                                                            and Erik Colan




          3
            This Notice of Termination also applies to each and every grant or alleged grant by Eugene J.
  Colan ofrights under copyright in and to the Work that falls within the applicable termination time window
  (defined by 17 U.S.C. § 304(c) and the effective date of this Notice of Termination). Every reasonable effort
  has been made to find and list herein every such grant and/or transfer. Nevertheless, if any such grant and/or
  transfer has been omitted, such omission is unintentional and involuntary, and this Notice of Termination
  applies as well to each and every such omitted grant and/or transfer.
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                                  CERTIFICATE OF SERVICE

         I hereby certify that I caused a true copy of the foregoing document described as

  NOTICE OF TERMINATION: "GUARDIANS OF THE GALAXY" to be served this 29 th day

  of September, 2021, by First Class Mail, postage prepaid, upon each of the following:

   To:   Marvel Entertainment, LLC                             Marvel Studios, LLC
         Marvel Worldwide, Inc.                                MVL Rights, LLC
         Marvel Property, Inc.                                 MVL Development, LLC
         Marvel Characters, Inc.                               Marvel Characters, Inc.
         1290 Avenue of the Americas                           500 South Buena Vista Street
         New York, NY 10104                                    Burbank, CA 91521
         Attn: John Turitzin, Chief Counsel                    Attn: David Galluzzi, Chief Counsel
               Eli Bard, Deputy Chief Counsel

         The Walt Disney Company
         500 South Buena Vista Street
         Burbank, CA 91521
         Attn: Alan Braverman, General Counsel



         I declare under penalty of perjury that the foregoing is true and correct. Executed this 29 th

  day of September, 2021 , at Malibu, California.




                                                    'Breck Kadaba
                                                     Toberoff & Associates, P.C.
                                                     23823 Malibu Road, Suite 50-363
                                                     Malibu, CA 90265

                                                        Counsel for Nanci Solo and Erik Colan




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